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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

RIGOBERTO CHAVEZ, Jr.,                       )
                                             )
                        Plaintiff,           )
                                             )      No. 17-cv-3102
       v.                                    )      Honorable Charles Norgle, Sr.
                                             )
RICARDO MARIN, et al.                        )
                                             )
                        Defendants.          )

    DEFENDANTS GOMEZ, TRUITT, WORTH, AND ROBINSON’S ANSWER TO
                     PLAINTIFF’S COMPLAINT

       Defendants, David Gomez, Charles Truitt, Rebecca Worth, and Nikki Robinson, by and

through their attorney Lisa Madigan, Attorney General of Illinois, hereby answer Plaintiff’s

Complaint as follows:

                                     JURISDICTION AND VENUE

       1.      This action arises under the United States Constitution and the Civil Rights Act of

1871 [42 U.S.C. Section 1983]. This court has jurisdiction under and by virtue of 28 U.S.C.

Sections 1343, 1331, and 1367.

     ANSWER: Defendants admit the allegations in Paragraph 1 of Plaintiff’s
Complaint.

       2.      Venue is proper in the Northern District of Illinois, under 28 U.S.C. Section 1391,

because the acts complained of occurred within this District and, upon information and belief,

Defendants reside within this District.

     ANSWER: Defendants admit the allegations in Paragraph 2 of Plaintiff’s
Complaint.
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                                              PARTIES

       3. RIGOBERTO CHAVEZ, JR., (hereinafter “CHAVEZ”) is and was, at all times herein

mentioned, a citizen of the United States residing within the jurisdiction of this Court.

        ANSWER: Defendants lack knowledge or information sufficient to form a belief as
to the truth of the allegations in Paragraph 3 of Plaintiff’s Complaint.

       4.        Defendant RICARDO MARIN (hereinafter “MARIN”) was, at all relevant times,

employed by the Illinois Department of Corrections (hereinafter “IDOC”) as a correctional

officer at Sheridan Correctional Center (hereinafter “Sheridan”) and was acting under color of

state law and as the employee, agent, or representative of the State of Illinois. This Defendant is

being sued in his individual capacity only.

     ANSWER:           Defendants admit the allegations in Paragraph 4 of Plaintiff’s
Complaint.

       5.        Defendant    FORMER          WARDEN        NIKKI      ROBINSON         (hereinafter

“ROBINSON”) was, at all relevant times, employed by IDOC as the Warden of Sheridan and

was acting under color of state law and as the employee, agent, or representative of the State of

Illinois. On or around May 16, 2016, during the events complained of herein, she was named

deputy director of the Northern District for IDOC. This Defendant is being sued in her individual

capacity only.

     ANSWER:           Defendants admit the allegations in Paragraph 5 of Plaintiff’s
Complaint.

       6.        Defendant WARDEN DAVID GOMEZ (hereinafter “GOMEZ”) was, at all

relevant times, employed by IDOC as the Warden of Sheridan and was acting under color of

state law and as the employee, agent, or representative of the State of Illinois. He replaced




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ROBINSON as the Warden of Sheridan on or around May 16, 2016, during the events

complained of herein. This Defendant is being sued in his individual capacity only.

     ANSWER:          Defendants admit the allegations in Paragraph 6 of Plaintiff’s
Complaint.

        7.     Defendant LIEUTENANT CHARLES TRUITT (hereinafter “TRUITT”) was, at

all relevant times, employed by IDOC as a correctional Lieutenant at Sheridan, was one of

MARIN’s supervisors, and was acting under color of state law and as the employee, agent, or

representative of the State of Illinois. This Defendant is being sued in his individual capacity

only.

     ANSWER: Defendants admit the allegations in Paragraph 7 of Plaintiff’s
Complaint.

        8.     Defendant MAJOR REBECCA WORTH (hereinafter “WORTH”) was, at all

relevant times, employed by IDOC as a corrections Shift Supervisor at Sheridan, was MARIN’s

direct supervisor, and was acting under color of state law and as the employee, agent, or

representative of the State of Illinois. This Defendant is being sued in her individual capacity

only.

     ANSWER:          Defendants admit the allegations in Paragraph 8 of Plaintiff’s
Complaint.

                                 FACTUAL ALLEGATIONS

        9.     From November 18, 2014 to November 18, 2016, CHAVEZ was incarcerated

at Sheridan, an IDOC prison located in Sheridan, Illinois.

     ANSWER:          Defendants admit the allegations in Paragraph 9 of Plaintiff’s
Complaint.




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          10.   CHAVEZ was released from Sheridan on November 18, 2016, and is currently on

parole.

     ANSWER:           Defendants admit the allegations in Paragraph 10 of Plaintiff’s
Complaint.

          11.   CHAVEZ is gay.

        ANSWER: Defendants lack knowledge or information sufficient to form a belief
as to the truth of the allegations in Paragraph 11 of Plaintiff’s Complaint.

          12.   From around October 2015 to November 18, 2016, MARIN engaged in a

continuing pattern of harassment against CHAVEZ because CHAVEZ was gay.

     ANSWER:           Defendants deny the allegations in Paragraph 12 of Plaintiff’s
Complaint.

          13.   MARIN also retaliated against CHAVEZ for reporting MARIN’s harassment.

     ANSWER:           Defendants deny the allegations in Paragraph 13 of Plaintiff’s
Complaint.

          14.   MARIN’s harassment and retaliation included, but was not limited to:

                 a.   denying CHAVEZ showers that CHAVEZ was entitled to;

                 b.   threatening to give CHAVEZ disciplinary tickets for taking showers that

                      CHAVEZ was entitled to;

                 c.   when CHAVEZ did shower, watching CHAVEZ while he was in the

                      shower, and then watching CHAVEZ get dressed when he got out;

                 d.   taunting, mocking, and laughing at CHAVEZ;

                 e.   giving CHAVEZ the middle finger;

                 f.   calling CHAVEZ a “fag”;

                 g.   informing other inmates of CHAVEZ’s sexuality;



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                 h.   mocking CHAVEZ’s sexuality in front of other inmates;

                 i.   telling other inmates that CHAVEZ “sucks dicks”;

                 j.   telling other inmates CHAVEZ was a “snitch” because CHAVEZ had

                      reported him to his supervisors;

                 k.   threatening to give CHAVEZ pretextual disciplinary tickets for reporting

                      him to his supervisors;

                 l.   telling another inmate to “fuck up” CHAVEZ;

                 m. causing other inmates to mock, intimidate, and degrade CHAVEZ;

                 n.   causing other inmates to threaten CHAVEZ;

                 o.   causing other inmates to use homophobic slurs against CHAVEZ;

                 p.   causing another inmate to call CHAVEZ a “faggot” and strike CHAVEZ in

                      the face with a closed fist multiple times because CHAVEZ was gay; and

                 q.   causing another inmate to get in physical altercation with CHAVEZ because

                      CHAVEZ was gay and was in the shower area at the same time as him;

        ANSWER: Defendants deny the allegations in Paragraphs 14(a) to 14(q) of
Plaintiff’s Complaint.

       15.     Around March of 2016, CHAVEZ reported MARIN’s harassment directly to

TRUITT, one of MARIN’s supervisors.

        ANSWER: Defendants lack knowledge or information sufficient to form a belief
as to the truth of the allegations in Paragraph 15 of Plaintiff’s Complaint.

       16.     TRUITT told CHAVEZ that he would handle it, but did not actually do anything

to correct the issue or to prevent future harassment.

        ANSWER: Defendant Truitt denies the allegations in Paragraph 16 of Plaintiff’s
Complaint. The remaining Defendants lack knowledge or information sufficient to form a
belief as to the truth of the allegations in Paragraph 16 of Plaintiff’s Complaint.

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       17.       MARIN continued to harass CHAVEZ.

     ANSWER:           Defendants deny the allegations in Paragraph 17of Plaintiff’s
Complaint.

       18.       About one month later, while ROBINSON was still the Warden of Sheridan,

CHAVEZ reported MARIN’s harassment directly to her.

        ANSWER: Defendants lack knowledge or information sufficient to form a belief
as to the truth of the allegations in Paragraph 18 of Plaintiff’s Complaint.

       19.       ROBINSON was dismissive of CHAVEZ, scolded him, and told him to go to

WORTH, who was MARIN’s direct supervisor.

        ANSWER: Defendant Robinson denies the allegations in Paragraph 19 of Plaintiff’s
Complaint. The remaining Defendants lack knowledge or information sufficient to form a
belief as to the truth of the allegations in Paragraph 19 of Plaintiff’s Complaint.

       20.       Shortly thereafter, CHAVEZ reported MARIN’s harassment directly to WORTH.

        ANSWER: Defendants lack knowledge or information sufficient to form a belief
as to the truth of the allegations in Paragraph 20 of Plaintiff’s Complaint.

       21.       WORTH ignored his complaint, no one did anything to correct the issue or to

prevent future harassment, and MARIN continued to work in the same building that CHAVEZ

was housed in.

     ANSWER:           Defendants deny the allegations in Paragraph 21 of Plaintiff’s
Complaint.

       22.       MARIN continued to harass and/or retaliate against CHAVEZ.

     ANSWER:           Defendants deny the allegations in Paragraph 22 of Plaintiff’s
Complaint.

       23.       CHAVEZ subsequently filed a grievance against MARIN, but, again, no one did

anything to correct the issue or to prevent future harassment and retaliation.


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        ANSWER: Defendants lack knowledge or information sufficient to form a belief
as to the truth of whether Plaintiff filed a grievance against Defendant Marin. Defendants
deny the remaining allegations in Paragraph 23 of Plaintiff’s Complaint.

       24.    MARIN continued to harass and/or retaliate against CHAVEZ.

     ANSWER: Defendants deny the allegations in Paragraph 24 of Plaintiff’s
Complaint.

       25.    Because MARIN was continuing his conduct despite these efforts, CHAVEZ

went to Anna Czerniak, an on-site mental healthcare worker employed by WestCare Foundation,

and reported MARIN’s actions to her.

        ANSWER: Defendants lack knowledge or information sufficient to form a belief as
to the truth of the allegations in Paragraph 25 of Plaintiff’s Complaint.

       26.    Anna Czerniak scheduled CHAVEZ for an appointment with an on-site doctor,

told CHAVEZ to report MARIN’s actions to internal affairs, and made a phone call to IDOC

staff to report MARIN on CHAVEZ’s behalf.

        ANSWER: Defendants lack knowledge or information sufficient to form a belief as
to the truth of the allegations in Paragraph 26 of Plaintiff’s Complaint.

       27.    Finally, about two months after CHAVEZ had initially reported MARIN to

TRUITT, MARIN was moved to another building.

        ANSWER: Defendants lack knowledge or information sufficient to form a belief as
to the truth of the allegations in Paragraph 27 of Plaintiff’s Complaint.

       28.    MARIN was only moved to another building because Anna Czerniak reported his

conduct—MARIN was moved the very same day that CHAVEZ reported MARIN to Anna

Czerniak.

        ANSWER: Defendants lack knowledge or information sufficient to form a belief
as to the truth of the allegations in Paragraph 28 of Plaintiff’s Complaint.



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          29.    But, despite being moved, MARIN continued to have contact with CHAVEZ and

continued harassing and retaliating against him.

     ANSWER:            Defendants deny the allegations in Paragraph 29 of Plaintiff’s
Complaint.

          30.    After MARIN was moved, CHAVEZ filed another grievance about the continuing

harassment and retaliation.

        ANSWER: Defendants lack knowledge or information sufficient to form a belief
as to the truth of the allegations in Paragraph 30 of Plaintiff’s Complaint.

          31.    Again, no one did anything to correct the issue or prevent future harassment and

retaliation.

     ANSWER: Defendants deny the allegations in Paragraph 31 of Plaintiff’s
Complaint.

          32.    So, on June 2, 2016, CHAVEZ filed a lawsuit in the Northern District of Illinois

[16-cv-05836]1 against MARIN based on his actions against him.

     ANSWER:            Defendants admit the allegations in Paragraph 32 of Plaintiff’s
Complaint.

          33.    Yet, MARIN continued to harass and retaliate against CHAVEZ until CHAVEZ

was released from Sheridan on November 18, 2016.

     ANSWER: Defendants deny the allegations in Paragraph 33 of Plaintiff’s
Complaint.

          34.    GOMEZ, after becoming Warden, was in charge of handling and responding to

prisoner grievances and internal affairs reports at Sheridan.

      ANSWER: Defendant Gomez admits he has a limited role in the grievance process.
Defendants deny the remaining allegations in Paragraph 33 of Plaintiff’s Complaint.




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    This lawsuit was voluntarily dismissed by agreement, without prejudice, on March 16, 2017.
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        35.   In response to multiple grievances and an internal affairs report submitted by

CHAVEZ, GOMEZ simply signed off on the findings of wholly inadequate investigations by

grievance counselors, internal affairs officers, and/or Prison Rape Elimination Act compliance

officers.

     ANSWER:          Defendants deny the allegations in Paragraph 35 of Plaintiff’s
Complaint.

        36.   The investigations conducted in response to CHAVEZ’s grievances and internal

affairs report were shams: the internal affairs officers and grievance counselors asked MARIN

about CHAVEZ’s allegations and then accepted MARIN’s flat denials, despite evidence and

witnesses that corroborated CHAVEZ’s claims.

     ANSWER: Defendants deny the allegations in Paragraph 36 of Plaintiff’s
Complaint.

        37.   GOMEZ signed off on findings that these allegations were unsubstantiated,

despite knowledge that the investigations were wholly inadequate and that there was

corroborating evidence that was ignored.

     ANSWER:          Defendants deny the allegations in Paragraph 37 of Plaintiff’s
Complaint.

        38.   In doing so, GOMEZ simply looked the other way and knowingly ignored

MARIN’s conduct.

     ANSWER: Defendants deny the allegations in Paragraph 38 of Plaintiff’s
Complaint.

        39.   As a result of TRUITT’s, ROBINSON’s, WORTH’s, and GOMEZ’s actions

and/or inactions, MARIN was allowed to continue his pattern of harassment and retaliation

against CHAVEZ.

        ANSWER: Defendants deny the allegations in Paragraph 39 of Plaintiff’s

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Complaint.

        40.     MARIN’s, TRUITT’s, ROBINSON’s, WORTH’s, and GOMEZ’s above-

described acts were intentional, willful, wanton, and malicious and done with reckless

indifference to and callous disregard for CHAVEZ’s rights. CHAVEZ requests punitive damages

to punish and deter them and other prison leadership, staff, and guards from engaging in similar

conduct

     ANSWER: Defendants deny the allegations in Paragraph 40 of Plaintiff’s
Complaint and denies that Plaintiff is entitled to any relief.

        41.     As a result of MARIN’s, TRUITT’s, ROBINSON’s, WORTH’s, and GOMEZ’s

actions and inactions, CHAVEZ sustained damages—he suffered physical, mental, and

emotional harm.

     ANSWER: Defendants deny the allegations in Paragraph 41 of Plaintiff’s
Complaint.

        42.     CHAVEZ has had to retain an attorney to render legal assistance to him in this

civil action so that he might vindicate his constitutional rights.

     ANSWER:            Defendants deny the allegations in Paragraph 42 of Plaintiff’s
Complaint.

                     COUNT I: CRUEL AND UNUSUAL PUNISHMENT
                       AGAINST DEFENDANT RICARDO MARIN

        43.     CHAVEZ hereby incorporates and re-alleges each of the above paragraphs as

though fully set forth at this place.

       ANSWER: Count I is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.




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        44.     MARIN’s       lengthy   pattern   of   intentional   harassment,   retaliation,   and

discrimination, which included direct threats by MARIN, as well as instructions to another inmate

to “fuck up” CHAVEZ, among other things, and which caused other inmates to threaten, mock,

degrade, and use physical force against CHAVEZ, constituted cruel and unusual punishment

under the Eighth Amendment.

       ANSWER: Count I is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.

        45.     MARIN’s conduct greatly increased the likelihood that CHAVEZ would suffer

harm.

       ANSWER: Count I is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.

        46.     As a result of MARIN’s conduct, CHAVEZ did suffer severe harm.

       ANSWER: Count I is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.

        47.     Therefore, MARIN is liable to CHAVEZ under 42 U.S.C. Section 1983.

       ANSWER: Count I is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.

                      COUNT II: EQUAL PROTECTION VIOLATIONS
                        AGAINST DEFENDANT RICARDO MARIN

        48.     CHAVEZ hereby incorporates and re-alleges each of the above paragraphs as

though fully set forth at this place.

       ANSWER: Count II is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.


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       49.    CHAVEZ is gay, and thus is a member of a protected class.

       ANSWER: Count II is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants. Furthermore, Paragraph 49 states a legal conclusion to which no answer is
required.

       50.    MARIN engaged in a pattern of intentional harassment, retaliation, and

discrimination against CHAVEZ because he was gay and because he had reported MARIN’s

harassment.

       ANSWER: Count II is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.

       51.    MARIN did not harass non-gay inmates as he did CHAVEZ.

       ANSWER: Count II is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.

       52.    There was no legitimate penal interest in MARIN harassing and retaliating against

CHAVEZ.

       ANSWER: Count II is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.

       53.    MARIN’s actions violated CHAVEZ’s rights under the Fourteenth Amendment to

be free from sexual harassment and from discrimination based on his sexual orientation.

       ANSWER: Count II is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.

       54.    As a result of MARIN’s conduct, CHAVEZ suffered severe harm.

       ANSWER: Count II is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.


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        55.     Therefore, MARIN is liable under 42 U.S.C. Section 1983.

       ANSWER: Count II is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.

              COUNT III: RETALIATION (1ST AMENDMENT VIOLATIONS)
                      AGAINST DEFENDANT RICARDO MARIN

        56.     CHAVEZ hereby incorporates and re-alleges each of the above paragraphs as

though fully set forth at this place.

       ANSWER: Count III is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.

        57.     CHAVEZ engaged in activities protected by the First Amendment when he

reported MARIN’s harassment and filed grievances against him.

       ANSWER: Count III is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.

        58.     MARIN retaliated against CHAVEZ for engaging in these protected activities by

informing other inmates that CHAVEZ was a gay and/or was a “snitch,” by threatening to give

CHAVEZ disciplinary tickets, and by instructing an inmate to “fuck up” Chavez.

       ANSWER: Count III is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.

        59.     MARIN’s conduct greatly increased the likelihood that CHAVEZ would suffer

harm.

       ANSWER: Count III is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.

        60.     As a result of MARIN’s conduct, CHAVEZ did suffer severe harm.


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       ANSWER: Count III is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.
       61.   The harm MARIN caused was likely to deter CHAVEZ from making future

complaints or filing future grievances.

       ANSWER: Count III is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.

        62.     Therefore, MARIN is liable to CHAVEZ under 42 U.S.C. Section 1983.

       ANSWER: Count III is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.

                             COUNT IV: FAILURE TO PROTECT
                               AGAINST RICARDO MARIN

        63.     CHAVEZ hereby incorporates and re-alleges each of the above paragraphs as

though fully set forth at this place.

       ANSWER: Count IV is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.

        64.     MARIN knowingly exposed CHAVEZ to a heightened risk of harm by telling

other inmates that he was gay, “sucks dicks,” was a “snitch,” and by telling another inmate to

“fuck up” CHAVEZ.

       ANSWER: Count IV is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.

        65.     MARIN acted with intent to cause harm or with deliberate indifference to

CHAVEZ’s safety.

       ANSWER: Count IV is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.

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        66.     As a result of MARIN’s conduct, CHAVEZ suffered severe harm.

       ANSWER: Count IV is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.

        67.     Therefore, MARIN is liable to CHAVEZ under 42 U.S.C. Section 1983.

       ANSWER: Count IV is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.

           COUNT V: FAILURE TO PROTECT AND/OR INTERVENE
    AGAINST FORMER WARDEN NIKKI ROBINSON, WARDEN DAVID GOMEZ,
        LIEUTENANT CHARLES TRUITT & MAJOR REBECCA WORTH

        68.     CHAVEZ hereby incorporates and re-alleges each of the above paragraphs as

though fully set forth at this place.

        ANSWER: Defendants incorporate their responses to Paragraphs 1 to 67 of
Plaintiff’s Complaint as their answer to Paragraph 68 of Plaintiff’s Complaint as if fully set
forth herein.

        69.     MARIN committed several continuing constitutional violations against CHAVEZ,

as described more fully herein.

     ANSWER:            Defendants deny the allegations in Paragraph 69 of Plaintiff’s
Complaint.

        70.     ROBINSON, GOMEZ, TRUITT, and WORTH each knowingly exposed

CHAVEZ to a heightened risk of harm by facilitating or consciously ignoring MARIN’s

harassment of, discrimination against, and retaliation against CHAVEZ.

     ANSWER:            Defendants deny the allegations in Paragraph 69 of Plaintiff’s
Complaint.




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       71.    ROBINSON, GOMEZ, TRUITT, and WORTH acted with intent to cause harm or

with deliberate, reckless indifference to CHAVEZ’s safety by not responding to his well-

supported complaints against MARIN.

     ANSWER:         Defendants deny the allegations in Paragraph 69 of Plaintiff’s
Complaint.

   72. Moreover, ROBINSON, GOMEZ, TRUITT, and WORTH each had knowledge that

MARIN was going to continue harassing, discriminating against, and retaliating against

CHAVEZ.

     ANSWER:         Defendants deny the allegations in Paragraph 69 of Plaintiff’s
Complaint.

   73. ROBINSON, GOMEZ, TRUITT, and WORTH each had a responsibility to prevent

MARIN from continuing to cause CHAVEZ harm and had accepted that responsibility.

     ANSWER:         Defendants deny the allegations in Paragraph 69 of Plaintiff’s
Complaint.

   74. ROBINSON, GOMEZ, TRUITT, and WORTH each had realistic opportunities to

prevent MARIN from continuing to cause CHAVEZ harm.

     ANSWER:         Defendants deny the allegations in Paragraph 69 of Plaintiff’s
Complaint.

   75. Yet, ROBINSON, GOMEZ, TRUITT, and WORTH failed to take reasonable steps to

prevent such harm from occurring.

     ANSWER:         Defendants deny the allegations in Paragraph 69 of Plaintiff’s
Complaint.

   76. As a result of each of their actions or inactions, CHAVEZ suffered harm.

     ANSWER:         Defendants deny the allegations in Paragraph 69 of Plaintiff’s
Complaint.



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    77. Therefore, ROBINSON, GOMEZ, TRUITT, and WORTH are liable to CHAVEZ under

42 U.S.C. Section 1983.

     ANSWER:             Defendants deny the allegations in Paragraph 69 of Plaintiff’s
Complaint.

   COUNT VI: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS (STATE
           LAW CLAIM) AGAINST DEFENDANT RICARDO MARIN

    78. CHAVEZ hereby incorporates and re-alleges each of the above paragraphs as though

fully set forth at this place.

       ANSWER: Count VI is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.

    79. The conduct of MARIN described herein was deliberately indifferent, extreme, and

outrageous.

       ANSWER: Count VI is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.

    80. MARIN knew or should have known that there was a high probability that his conduct, as

described more fully herein, would cause CHAVEZ severe mental, physical, or emotional harm.

       ANSWER: Count VI is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.

    81. MARIN intended to cause CHAVEZ severe mental, physical, or emotional harm.

       ANSWER: Count VI is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.

    82. As a result of MARIN’s conduct, CHAVEZ did suffer severe harm.

       ANSWER: Count VI is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.

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   83. MARIN’s conduct was beyond the bounds of decency.

       ANSWER: Count VI is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.
   84. Therefore, MARIN is liable to CHAVEZ under Illinois law.

       ANSWER: Count VI is not directed towards Defendants David Gomez, Charles
Truitt, Rebecca Worth, and Nikki Robinson and thus does not require a response from
Defendants.

       WHEREFORE, Plaintiff RIGOBERTO CHAVEZ, JR., requests that Defendants be

found liable for the claims against them, that judgment be entered in his favor, and that he be

awarded all remedies to which he is entitled under the law, including but not limited to:

       1)      compensatory damages;

       2)      punitive damages;

       3)      costs of the suit;

       4)      any interest allowable; and

       5)      attorney’s fees (for the federal claims only).

      ANSWER: Defendants deny Plaintiff is entitled to the requested relief or any relief
whatsoever.

                                       GENERAL DENIAL

       Defendants deny all allegations in Plaintiff’s Complaint not specifically admitted herein.

                                        JURY DEMAND

       Defendants demand a trial by jury on all issues herein triable.

                                    AFFIRMATIVE DEFENSES

                                     First Affirmative Defense
                                        Qualified Immunity



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       At all times relevant herein, Defendants acted in good faith and in furtherance of lawful

objectives without violating Plaintiff’s clearly established statutory or constitutional rights of

which a reasonable person would have known. Defendant is therefore protected from suit by the

doctrine of qualified immunity.

                                   Second Affirmative Defense
                                      Personal Involvement

       Defendant’s personal involvement has not been established with sufficient specificity to

state a claim upon which relief can be granted.

                                   Third Affirmative Defense
                                   Prison Litigation Reform Act

       To the extent applicable, Plaintiff is governed by the Prison Litigation Reform Act

(“Act”), 42 U.S.C. § 1997(e)(a). Plaintiff failed to exhaust the administrative remedies as

required by the Act, id.; see also Dale v. Lappin, 376 F. 3d 652, 655 (7th Cir. 2004).

       Dated: September 15, 2017



                                                       Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on September 15, 2017, he electronically filed the
foregoing document with the Clerk of the Court for the Northern District of Illinois by using the
CM/ECF system. All participants in the case are registered CM/ECF users who will be served by
the CM/ECF system.



                                                    /s/ Nicholas S. Staley
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